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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

Kimberly Lafave, et al..
Plaintiffs,
V. Case No. 1:23-cv-1605

The County of Fairfax, Virginia, et al.,
Defendants.

ORDER

A Fed. R. Civ. P. 16(b) PRETRIAL CONFERENCE will be held on Wednesday, February 7,
2024 at 11:00 a.m. before Magistrate Judge Anderson. The parties shall confer prior to this conference to
consider the claims, defenses, possibilities of a prompt settlement or resolution of the case, trial before the
magistrate judge, to arrange for the disclosures required by Rule 26(a)(1), and develop a discovery plan
which will complete discovery by Friday, June 14, 2024. A party may not exceed five (5) non-party,
non-expert witness depositions nor serve on any other party more than thirty (30) interrogatories,
including parts and subparts, without leave of court. Proposed discovery plans must be filed by the
Wednesday one week before the Rule 16(b) pretrial conference.

Any party required to file an answer must do so within twenty (20) days.

The FINAL PRETRIAL CONFERENCE will be held on Thursday, June 20, 2024 at 10:00 a.m.

The parties must electronically file on or before the final pretrial conference the Rule 26(a)(3)
disclosures and a list of the exhibits to be used at trial, a list of the witnesses to be called at trial and a
written stipulation of uncontested facts. The exhibits themselves or a copy should be exchanged with
opposing counsel before the conference. Objections to exhibits must be filed within 10 days after the
conference; otherwise the exhibits shall stand admitted in evidence. The original exhibits shall be
delivered to the clerk as provided by Local Rule 79(A). Non-expert witnesses and exhibits not so
disclosed and listed will not be permitted at trial except for impeachment or rebuttal, and no person may
testify whose identity. being subject to disclosure or timely requested in discovery. was not disclosed in
time to be deposed or to permit the substance of his knowledge and opinions to be ascertained. The trial
of this case will be set for a day certain, within 4-8 weeks of the final pretrial conference.

Discovery may begin upon receipt of this Order.

PERSONAL IDENTIFIERS MUST BE REDACTED FROM ALL PUBLICLY FILED
PLEADINGS AND EXHIBITS IN ACCORDANCE WITH LOCAL RULE 7(C).

Oar cbe. Pn. lth

CLAUDE M. HILTON
UNITED STATES DISTRICT JUDGE

January 24, 2024
Alexandria, Virginia
This order is being mailed or e-mailed to local counsel only.
